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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

                       Plaintiff

vs.                                                          Case No. 1:06cr17/SPM

TIMOTHY PAUL McKEE, SR.

                       Defendant
                                     /

                              FINAL ORDER OF FORFEITURE

        THIS CAUSE CAME before the Court on the Motion of the United States of America for

a Final Order Of Forfeiture. Being fully advised in the premises, the Court finds as follows:

        WHEREAS, on July 2, 2007, this Court entered a Preliminary Order Of Forfeiture against

the following property:

        A.     REAL PROPERTY LOCATED AT 130 NE 1ST STREET, HIGH SPRINGS,
               FLORIDA 32655, WITH ALL IMPROVEMENTS AND APPURTENANCES
               THEREON, and more particularly described as:

               The North 2/3 OF Lot 1, in Block 12, of the G.E. Foster Addition
               to the city of High Springs, a subdivison, according to the plat
               thereof as recorded in Plat Book “A”, Page 6, of the public
               records of Alachua County, FL; located in Section 03, Township
               08 South, Range 17 East, Alachua County, FL.

pursuant to the provisions of 21 U.S.C. § 853; and

        WHEREAS, on November 2, 9, 16, and 23, 2007, the United States of America caused to

be published in the Gainesville Sun, a newspaper of general circulation, notice of this forfeiture
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and the intent of the United States of America to dispose of the property, in accordance with the

law, further notifying all third parties of their right to file a petition setting forth their interest in

said property; and

        WHEREAS, no persons or entities having an interest in the above-referenced property have

filed petitions, it is hereby

        ORDERED, ADJUDGED and DECREED that the right, title and interest to the above-

referenced property, is hereby condemned, forfeited and vested in the United States of America, and

shall be disposed of in accordance with the law.

        DONE AND ORDERED this 11th day of January, 2008.


                                            s/ Stephan P. Mickle
                                         Stephan P. Mickle
                                         United States District Judge




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